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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Elena Macias,                                    NO. CV-17-00274-TUC-RCC
10                  Plaintiff,
                                                    JUDGMENT IN A CIVIL CASE
11   v.
12   Mark A Kirkorsky PC,
13                  Defendant.
14
15            Decision by Court. This action came for consideration before the Court. The

16   issues have been considered and a decision has been rendered.

17            IT IS ORDERED AND ADJUDGED that pursuant to the Court’s Order filed July

18   3, 2018, judgment is entered in favor of Plaintiff in the amount of $14,000, plus all

19   attorney’s fees and costs reasonably incurred by Plaintiff in this case, and against

20   Defendant. The amount of fees and costs shall be in an amount negotiated by the parties
21   or, failing agreement of the parties, in an amount to be determined by the Court.
22                                             Brian D. Karth
                                               District Court Executive/Clerk of Court
23
24   July 3, 2018
                                               s/ B Cortez
25                                       By    Deputy Clerk
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